   Case: 4:06-cr-00124-GHD-JMV Doc #: 256 Filed: 09/02/09 1 of 1 PageID #: 1868




                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                               GREENVILLE DIVISION


UNITED STATES OF AMERICA,

VS.                                          CRIMINAL ACTION NO. 4:06CR124-P-D

WILLIAM MICHAEL WINEMILLER,                                              DEFENDANT.

                                            ORDER

          This matter comes before the court upon Defendant William Michael Winemiller’s Motion

for Continuance [238]. After due consideration of the motion, the court finds that it should be

denied.

          IT IS THEREFORE ORDERED AND ADJUDGED that Defendant William Michael

Winemiller’s Motion for Continuance [238] is DENIED.

          SO ORDERED this the 2nd day of September, A.D., 2009.


                                                    /s/ W. Allen Pepper, Jr.
                                                    W. ALLEN PEPPER, JR.
                                                    UNITED STATES DISTRICT JUDGE
